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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 LINDA JOHNSON,                                      )
                                                     )
                         Plaintiff,                  )
                                                     )   Case No. ______________
         v.                                          )
                                                     )   JURY TRIAL DEMANDED
 FLIR SYSTEMS, INC., EARL R. LEWIS,                  )
 JAMES J. CANNON, JOHN D. CARTER,                    )
 WILLIAM W. CROUCH, CATHERINE A.                     )
 HALLIGAN, ANGUS L. MACDONALD,                       )
 MICHAEL T. SMITH, CATHY STAUFFER,                   )
 ROBERT S. TYRER, JOHN W. WOOD, JR.,                 )
 STEVEN E. WYNNE, TELEDYNE                           )
 TECHNOLOGIES INCORPORATED,                          )
 FIREWORK MERGER SUB I, INC., and                    )
 FIREWORK MERGER SUB II, LLC,                        )
                                                     )
                         Defendants.                 )

    COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by her undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to herself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.       This action stems from a proposed transaction announced on January 4, 2021 (the

“Proposed Transaction”), pursuant to which FLIR Systems, Inc. (“FLIR” or the “Company”) will

be acquired by Teledyne Technologies Incorporated (“Parent”), Firework Merger Sub I, Inc.

(“Merger Sub I”), and Firework Merger Sub II, LLC (“Merger Sub II,” and together with Parent

and Merger Sub II, “Teledyne”).

       2.       On January 4, 2021, FLIR’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger
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Agreement”) with Teledyne. Pursuant to the terms of the Merger Agreement, FLIR’s stockholders

will receive 0.0718 shares of Parent common stock and $28.00 in cash for each share of FLIR

common stock they own.

       3.       On March 4, 2021, defendants filed a Form S-4 Registration Statement (the

“Registration Statement”) with the United States Securities and Exchange Commission (“SEC”)

in connection with the Proposed Transaction.

       4.       The Registration Statement omits material information with respect to the Proposed

Transaction, which renders the Registration Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Registration Statement.

                                 JURISDICTION AND VENUE

       5.       This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.       This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.       Venue is proper under 28 U.S.C. § 1391(b) because a portion of the transactions

and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.       Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of FLIR common stock.




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       9.       Defendant FLIR is a Delaware corporation and a party to the Merger Agreement.

FLIR’s common stock is traded on the NASDAQ, which is headquartered in New York, New

York, under the ticker symbol “FLIR.”

       10.      Defendant Earl R. Lewis is Chairman of the Board of the Company.

       11.      Defendant James J. Cannon is President, Chief Executive Officer, and a director of

the Company.

       12.      Defendant John D. Carter is a director of the Company.

       13.      Defendant William W. Crouch is a director of the Company.

       14.      Defendant Catherine A. Halligan is a director of the Company.

       15.      Defendant Angus L. Macdonald is a director of the Company.

       16.      Defendant Michael T. Smith is a director of the Company.

       17.      Defendant Cathy Stauffer is a director of the Company.

       18.      Defendant Robert S. Tyrer is a director of the Company.

       19.      Defendant John W. Wood, Jr. is a director of the Company.

       20.      Defendant Steven E. Wynne is a director of the Company.

       21.      The defendants identified in paragraphs 10 through 20 are collectively referred to

herein as the “Individual Defendants.”

       22.      Defendant Parent is a Delaware corporation and a party to the Merger Agreement.

       23.      Defendant Merger Sub I is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

       24.      Defendant Merger Sub II is a Delaware limited liability company, a wholly-owned

subsidiary of Parent, and a party to the Merger Agreement.




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                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       25.     FLIR is a world-leading industrial technology company focused on intelligent

sensing solutions for defense and industrial applications.

       26.     On January 4, 2021, FLIR’s Board caused the Company to enter into the Merger

Agreement with Teledyne.

       27.     Pursuant to the terms of the Merger Agreement, FLIR’s stockholders will receive

0.0718 shares of Parent common stock and $28.00 in cash for each share of FLIR common stock

they own.

       28.     According to the press release announcing the Proposed Transaction:

       Teledyne Technologies Incorporated (NYSE:TDY) (“Teledyne”) and FLIR
       Systems, Inc. (NASDAQ:FLIR) (“FLIR”) jointly announced today that they have
       entered into a definitive agreement under which Teledyne will acquire FLIR in a
       cash and stock transaction valued at approximately $8.0 billion.

       Under the terms of the agreement, FLIR stockholders will receive $28.00 per share
       in cash and 0.0718 shares of Teledyne common stock for each FLIR share, which
       implies a total purchase price of $56.00 per FLIR share based on Teledyne’s 5-day
       volume weighted average price as of December 31, 2020. The transaction reflects
       a 40% premium for FLIR stockholders based on FLIR’s 30-day volume weighted
       average price as of December 31, 2020. . . .

       Approvals and Timing

       The transaction, which has been approved by the boards of directors of both
       companies, is expected to close in the middle of 2021 subject to the receipt of
       required regulatory approvals, including expiration or termination of the applicable
       waiting period under the Hart-Scott-Rodino Antitrust Improvements Act, approvals
       of Teledyne and FLIR stockholders and other customary closing conditions.

       Advisors

       Evercore is acting as exclusive financial advisor and McGuireWoods LLP is acting
       as legal advisor to Teledyne in connection with the transaction. Goldman Sachs &
       Co. LLC is acting as exclusive financial advisor and Hogan Lovells US LLP is
       acting as legal advisor to FLIR in connection with the transaction. Teledyne has



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       entered into a 364-day senior unsecured bridge facility credit agreement with Bank
       of America as sole lead arranger and administrative agent.

The Registration Statement Omits Material Information

       29.     Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

       30.     As set forth below, the Registration Statement omits material information with

respect to the Proposed Transaction.

       31.     First, the Registration Statement omits material information regarding the

Company’s, Teledyne’s, and the combined company’s financial projections.

       32.     With respect to the Company’s financial projections, the Registration Statement

fails to disclose: (i) all line items used to calculate adjusted EBITDA, unlevered free cash flow,

and adjusted EPS; and (ii) a reconciliation of all non-GAAP to GAAP metrics.

       33.     With respect to Teledyne’s financial projections, the Registration Statement fails to

disclose: (i) all line items used to calculate adjusted EBITDA and free cash flow; and (ii) a

reconciliation of all non-GAAP to GAAP metrics.

       34.     With respect to the pro forma company’s financial projections, the Registration

Statement fails to disclose: (i) all line items used to calculate adjusted EBITDA, unlevered free

cash flow, and adjusted EPS; and (ii) a reconciliation of all non-GAAP to GAAP metrics.

       35.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion.




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       36.      Second, the Registration Statement omits material information regarding the

analyses performed by the Company’s financial advisor in connection with the Proposed

Transaction, Goldman Sachs & Co. LLC (“Goldman”).

       37.      With respect to Goldman’s Illustrative Discounted Cash Flow Analysis of the

Company, the Registration Statement fails to disclose: (i) all line items used to calculate unlevered

free cash flow; (ii) the individual inputs and assumptions underlying the discount rates ranging

from 6.50% to 9.00% and the perpetuity growth rates ranging from 0.5% to 3.9%; (iii) the terminal

values for FLIR; (iv) Goldman’s basis for applying an illustrative range of exit terminal year

EV/EBITDA multiples ranging from 12.0x to 15.0x; (v) the net debt of FLIR; and (vi) the number

of fully diluted outstanding FLIR common stock.

       38.      With respect to Goldman’s Illustrative Present Value of Future Share Price

Analysis of the Company, the Registration Statement fails to disclose: (i) Goldman’s basis for

applying illustrative next twelve months (“NTM”) P/E multiples ranging from 16.0x to 20.0x; (ii)

the individual inputs and assumptions underlying the discount rate of 8.25%; and (iii) the

cumulative dividends per share expected to be paid to FLIR stockholders in each of the years 2021

to 2024.

       39.      With respect to Goldman’s Selected Transactions Analysis, the Registration

Statement fails to disclose: (i) the total values of the transactions; and (ii) the closing dates of the

transactions.

       40.      With respect to Goldman’s Premia Analysis, the Registration Statement fails to

disclose: (i) the transactions observed in the analysis; and (ii) the premiums paid in the transactions.

       41.      With respect to Goldman’s Illustrative Present Value of Future Share Price

Analysis of the combined company, the Registration Statement fails to disclose: (i) Goldman’s




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basis for applying illustrative NTM P/E multiples ranging from 28.0x to 34.0x; and (ii) the

individual inputs and assumptions underlying the discount rate of 8.25%.

       42.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.

       43.     Third, the Registration Statement fails to disclose whether the Company executed

any confidentiality agreements that contained standstill and/or “don’t ask, don’t waive” provisions.

       44.     The omission of the above-referenced material information renders the Registration

Statement false and misleading.

       45.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

     Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
                Thereunder Against the Individual Defendants and FLIR

       46.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       47.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule

14a-9, in light of the circumstances under which they were made, omitted to state material facts

necessary to make the statements therein not materially false or misleading. FLIR is liable as the

issuer of these statements.

       48.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Registration

Statement.



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       49.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

       50.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Registration

Statement and in other information reasonably available to stockholders.

       51.     The Registration Statement is an essential link in causing plaintiff to approve the

Proposed Transaction.

       52.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       53.     Because of the false and misleading statements in the Registration Statement,

plaintiff is threatened with irreparable harm.

                                            COUNT II

                      Claim for Violation of Section 20(a) of the 1934 Act
                       Against the Individual Defendants and Teledyne

       54.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       55.     The Individual Defendants and Teledyne acted as controlling persons of FLIR

within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions

as officers and/or Board members of FLIR and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Registration

Statement, they had the power to influence and control and did influence and control, directly or

indirectly, the decision making of the Company, including the content and dissemination of the

various statements that plaintiff contends are false and misleading.



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       56.     Each of the Individual Defendants and Teledyne was provided with or had

unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading prior

to and/or shortly after these statements were issued and had the ability to prevent the issuance of

the statements or cause them to be corrected.

       57.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same.           The Registration Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly involved in the making of the Registration Statement.

       58.     Teledyne also had supervisory control over the composition of the Registration

Statement and the information disclosed therein, as well as the information that was omitted and/or

misrepresented in the Registration Statement.

       59.     By virtue of the foregoing, the Individual Defendants and Teledyne violated

Section 20(a) of the 1934 Act.

       60.     As set forth above, the Individual Defendants and Teledyne had the ability to

exercise control over and did control a person or persons who have each violated Section 14(a) of

the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act.   As a direct and proximate result of defendants’ conduct, plaintiff is threatened with

irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:




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       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required in

it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: March 18, 2021                               RIGRODSKY LAW, P.A.

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